

Tamar Equities Corp. v Van De Pol (2023 NY Slip Op 50211(U))



[*1]


Tamar Equities Corp. v Van De Pol


2023 NY Slip Op 50211(U)


Decided on March 20, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 20, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., Michael, James, JJ.



570221/22

Tamar Equities Corp., Plaintiff-Respondent, 
againstJoshua Van De Pol, Defendant-Appellant.




Defendant appeals from an order of the Civil Court of the City of New York, New York County (Shahabuddeen A. Ally, J.), entered May 6, 2022, which denied his motion for leave to reargue (denominated as a motion for leave to renew and reargue) a prior order of the same court and Judge, entered on or about December 21, 2021.




Per Curiam.
Order (Shahabuddeen A. Ally, J.), entered May 6, 2022, dismissed, without costs, as nonappealable.
Inasmuch as no appeal lies from the denial of a motion to reargue (see Smith v Pereira, 176 AD3d 491, 492 [2019]) and no appeal has been taken from the original December 21, 2021 order granting, among other things, plaintiff's motion for summary judgment on liability, defendant's arguments addressed to that determination are not properly before us (see Stratakis v Ryjov, 66 AD3d 411, 411-412 [2009]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 20, 2023









